
MARTIN, Circuit Judge,
concurring:
I agree with the majority that under the binding precedent of this Court, when the District Court sentenced Ms. Mollica to 28 months in prison, even though it was twice as long as the top of Ms. Mollica’s properly calculated guideline range of 8 to 14 months, it did not impose a substantively unreasonable sentence.
*730However, I write separately to emphasize the importance of abiding by the Supreme Court’s directive to “consider the extent of the deviation and ensure that the justification is sufficiently compelling to support the degree of the variance” in upward-departure cases like this. Gall v. United States, 552 U.S. 38, 50, 128 S.Ct. 586, 597, 169 L.Ed.2d 445 (2007). As the Supreme Court cautioned us, “a major departure should be supported by a more significant justification than a minor one,” and it is the duty of our Court and the District Court to carefully ensure that a strong justification has been provided when a departure as large as this one has occurred. Id.
I concur in the judgment of the majority.
